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5    Attorneys for the
     United States of America
6

7

8                       IN THE UNITED STATES DISTRICT COURT

9                          EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             ) NO. 1:12-CR-00106 LJO
                                           )
12             Plaintiff,                  )
                                           ) APPLICATION AND ORDER REGARDING
13        v.                               ) FINANICAL DISCLOSURES
                                           )
14   ROBERTO OLIVARES and                  )
     ROGELIO MARTIN,                       )
15                                         )
               Defendants.                 )
16                                         )
                                           )
17

18       On February 25, 2013, the Defendants herein, ROBERTO OLIVARES
19   and ROGELIO MARTIN, entered guilty pleas to Counts One, Ten, Twenty,
20   Thirty, Forty, Fifty, Sixty, Seventy, Seventy-seven and Seventy-nine
21   of the Indictment, which charges them with Wire Fraud, in violation
22   of 18 U.S.C. § 1343.
23       As part of their Plea Agreements with the United States, the
24   Defendants agreed to make full and complete disclosure of their
25   assets and financial condition, and to complete the United States
26   Attorney’s Office’s “Authorization to Release Information” and
27   “Financial Statement Pre-Sentencing Disclosure” (Financial Affidavit)
28

29                                           -1-
                APPLICATION AND [PROPSED] ORDER REGARDING FINANCIAL DISCLOSURES
30
         Case 1:12-cr-00106-LJO-BAM Document 54 Filed 03/07/13 Page 2 of 4


1    within five (5) weeks from the entry of defendants’ change of plea

2    (see Docs. ## 49 and 50, ¶3(j)).          The Defendants also agreed to have

3    the Court enter an order to that effect (id.).

4        Accordingly, the United States hereby applies for entry of an

5    order as follows:

6        1. The Defendants herein, ROBERTO OLIVARES and ROGELIO MARTIN,

7    are hereby ordered to complete and sign both the “Financial Statement

8    Pre-Sentencing Disclosure” and the “Authorization to Release

9    Information,” and provide those forms to the United States Attorney’s

10   Office, Attention FLU Unit, 2500 Tulare Street, Suite 4401, Fresno,

11   California 93721, no later than April 1, 2013.

12
     Dated:   March 7, 2013                            BENJAMIN B. WAGNER
13                                                     United States Attorney
14
                                                         /s/ Christopher D. Baker
15                                                     CHRISTOPHER D. BAKER
                                                       Assistant U.S. Attorney
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                 APPLICATION AND [PROPSED] ORDER REGARDING FINANCIAL DISCLOSURES
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                             Case 1:12-cr-00106-LJO-BAM Document 54 Filed 03/07/13 Page 3 of 4


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8                                           IN THE UNITED STATES DISTRICT COURT

9                                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                  ) NO. 1:12-CR-00106 LJO
                                                                )
12                                  Plaintiff,                  )
                                                                ) ORDER REGARDING FINANCIAL
13                            v.                                ) DISCLOSURES
                                                                )
14   ROBERTO OLIVARES and                                       )
     ROGELIO MARTIN,                                            )
15                                                              )
                                    Defendants.                 )
16                                                              )
                                                                )
17

18                            The Defendants herein, ROBERTO OLIVARES and ROGELIO MARTIN, are
19   hereby ordered to complete and sign both the “Financial Statement
20   Pre-Sentencing Disclosure” and the “Authorization to Release
21   Information,” and provide those forms to the United States Attorney’s
22   Office, Attention FLU Unit, 2500 Tulare Street, Suite 4401, Fresno,
23   California 93721 no later than April 1, 2013.
24

25   IT IS SO ORDERED.
26
                           Dated:   March 7, 2013                       /s/ Lawrence J. O’Neill
27   DEAC_Signature-END:
                                                                    UNITED STATES DISTRICT JUDGE
28

29                                                                -3-
                                                  ORDER REGARDING FINANCIAL DISCLOSURES
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                            ORDER REGARDING FINANCIAL DISCLOSURES
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